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AO 2450 (Rev. 02/18)    Judgment in a Criminal Case for Revocations
                         Sheet I




                                                             Eastern District of Arkansas

          UNITED STATES OF AMERICA
                                v.                                         (For Revocation of Probation or Supervised Release)

                   MAGNOLIA FORD
                                                                           Case No. 4:15-cr-00276-09
                                                                           USM No. 29816-009
                                                                            JOSEPH R. PERRY
                                                                                                    Defendant's Attorney
 THE DEFENDANT:
 ~ admitted guilt to violation of condition(s)             _1-_3_ _ _ _ _ _ _ _ _ of the term of supervision.
 D    was found in violation of condition(s) count(s)                                  after denial of guilt.
 The defendant is adjudicated guilty of these violations:


 Violation Number                Nature of Violation                                                               Violation Ended
 1                                Failure to refrain from unlawful use of a controlled substance.

                                     Failure to submit to one drug test within 15 days of release

                                     from imprisonment and at least two periodic drug tests

                                     thereafter, as determined by the court.                                       12/07/2017

        The defendant is sentenced as provided in pages 2 through __7_ _ of this judgment. The sentence is imposed pursuant to
 the Sentencing Reform Act of 1984.
 D    The defendant has not violated condition(s) _ _ _ _ _ _ _ and is discharged as to such violation(s) condition.

           It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
 change of name, residence, or mailing address untn all fines, restitution, costs, and special assessments imposed by this judgment are
 fully pa~d. ~f ordered to pay restitution, the defendant must notify the court and United States attorney of material changes m
 economic circumstances.

 Last Four Digits of Defendant's Soc. Sec. No.: 2731                        02/28/2018
                                                                                               Date of Imposition of Judgment
 Defendant's Year of Birth:             1982
                                                                              ~ ·&h !Ill M.~ c.u..
 City and State of Defendant's Residence:
 West Helena, Arkansas
                                                                            Kristine G. Baker, United States District Judge
                                                                                                  Name and Title of Judge


                                                                                                                Date
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                                                      ADDITIONAL VIOLATIONS

                                                                                                             Violation
Violation Number               Nature of Violation                                                           Concluded
2                              Failure to pay restitution.                                                   12/31/2017

3                              Failure to report to the probation officer as instructed.                     11/30/2017
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                       Sheet 3 - Supervised Release
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DEFENDANT: MAGNOLIA FORD
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                                                         SUPERVISED RELEASE

Upon release from imprisonment, you will be on supervised release for a term of:

 an additional 120 days. Supervision should expire June 29, 2018.




                                                     MANDATORY CONDITIONS
1.   You must not commit another federal, state or local crime.
2.   You must not unlawfully possess a controlled substance.
3.   You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release
     from imprisonment and at least two periodic drug tests thereafter, as determined by the court.
                D The above drug testing condition is suspended, based on the court's determination that you pose a low risk of future
                    substance abuse. (check if applicable)
4.    ~ You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
           restitution. (check if applicable)
5.    J!1' You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
6.    D You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et seq.)
           as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location
           where you reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
7.    D You must participate in an approved program for domestic violence. (check if applicable)


You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the
attached page.
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                       Sheet 3A- Supervised Release
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                                         STAND ARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are
imposed because they establish the basic expectations for your behavior while on supervision and identify the minimum tools
needed by probation officers to keep informed, report to the court about, and bring about improvements in your conduct and
condition.

1.    You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of
      your release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a
      different time frame.
2.    After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how
      and when you must report to the probation officer, and you must report to the probation officer as instructed.
3.    You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission
      from the court or the probation officer.
4.    You must answer truthfully the questions asked by your probation officer.
5.    You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
      arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If
      notifying the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation
      officer within 72 hours of becoming aware of a change or expected change.
6.    You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation
      officer to take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7.    You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you
      from doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation
      officer excuses you from doing so. If you plan to change where you work or anything about your work (such as your position
      or your job responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the
      probation officer at least 10 days in advance is not possible due to unanticipated circumstances, you must notify the probation
      officer within 72 hours of becoming aware of a change or expected change.
8.    You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has
      been convicted of a felony, you must not knowingly communicate or interact with that person without first getting the
      permission of the probation officer.
9.    If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10.   You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything
      that was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as
      nunchakus or tasers ).
11.   You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant
      without first getting the permission of the court.
12.   If the probation officer determines that you pose a risk to another person (including an organization), the probation officer
      may require you to notify the person about the risk and you must comply with that instruction. The probation officer may
      contact the person and confirm that you have notified the person about the risk.
13.   You must follow the instructions of the probation officer related to the conditions of supervision.


U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and
Supervised Release Conditions, available at: www.uscourts.gov.

Defendant's Signature                                                                          Date
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                        Sheet 3D- Supervised Release
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  CASE NUMBER: 4:15-cr-00276-09

                                            SPECIAL CONDITIONS OF SUPERVISION

All conditions previously imposed remain in full force and effect.

The Court adds a curfew condition. The defendant is under a curfew from 10:00 p.m. until 6:00 a.m. every day. She is to
be at her residence during that time unless she has approval from the probation officer in advance.
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                        Sheet 5 - Criminal Monetary Penalties

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DEFENDANT: MAGNOLIA FORD
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                                                CRIMINAL MONETARY PENALTIES

     The defendant must pay the following total criminal monetary penalties under the schedule of payments set forth on Sheet 6.


                       Assessment                     JVT A Assessment*                  Fine                      Restitution
TOTALS          $                                 $                                  $                         $    935.00


D    The determination ofrestitution is deferred until
                                                       ----
                                                            . An Amended Judgment in a Criminal Case (AO 245C) will be
     entered after such determination.

D    The defendant shall make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximately proportioned pa~ent, unless specified
     otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. ~ 3664(i), all nonfederal
     victims must be paid before the United States is paid.

Name of Payee                                 Total Loss**                               Restitution Ordered              Priority or Percentage
 United States Department                                                $935.00                               $935.00     Joint and Several

 of Agriculture




TOTALS                                $                       935.00             $                      935.00
                                          --------~
                                                                                     ----------

D     Restitution amount ordered pursuant to plea agreement $

D     The defendant must pay interest on restitution or a fine more than $2_.500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § j612(t). All of the payment options on Sheet 6 may be
      subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).


      The court determined that the defendant does not have the ability to pay interest and it is ordered that:

      ~ the interest requirement is waived for the              D fine         ~ restitution.
      D the interest requirement for the            D fine            D restitution is modified as follows:


*Justice for Victims of Trafficking Act of2015, Pub. L. No. 114-22.
**Findings for the total amount oflosses are required under Chapters 109A, 110, l lOA, and l 13A of Title 18 for offenses committed
on or after September 13, 1994, but before ApriI23, 1996.
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                           Sheet 6 - Schedule of Payments

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                                                          SCHEDULE OF PAYMENTS

    Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties shall be due as follows:

    A     D    Lump sum payment of$ - - - - - - - due immediately, balance due

               D not later than _ _ _ _ _ _ _ _ _ _ , or
               D in accordance with D C, D D, D E,or                           D F below); or
    B     lt'f Payment to begin immediately (may be combined with            D C,         D D, or      eJ F below); or
    C     D Payment in equal            (e.g., weekly, monthly, quarterly) installments of $                     over a period of
              ----- (e.g., months or years), to commence                (e.g., 30 or 60 days) after the date of this judgment; or

    D     D    Payment in equal             (e.g., weekly, monthly, quarterly) installments of $                    over a period of
              _ _ _ _ _ (e.g., months or years), to commence                (e.g., 30 or 60 days) after release from imprisonment to
               term of supervision; or

    E     D    Payment during the term of supervised release will commence within                (e.g., 30 or 60 days) after release
               from imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay.
    F     D Special instructions regarding the payment of criminal monetary penalties:

            Payments are 1O percent per month of defendant's monthly gross income. Interest is waived.




    Unless the court has ex2ressly ordered otherwise in the special instruction above, if this judgment imposes imprisonment, payment of
    criminal monet~ renalties IS due during the period of imprisonment. All criminal monetary penalties, except those payments made
    through the Federa Bureau of Prisons' Inmate Financial Responsibility Program, are made to the clerk of the court.

    The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




    ~ Joint and Several

          Defendant and Co-Defendant Names and Case Numbers (including defendant number), Joint and Several Amount and
          corresponding payee, if appropriate.
        Restitution shall be joint and several with co-defendants Khalid S.A. Alkarsh and Bakil Mohamed Alqirsh.



    D     The defendant shall pay the cost of prosecution.

    D     The defendant shall pay the following court cost(s):

    D     The defendant shall forfeit the defendant's interest in the following property to the United States:



Payments shall be applied in the follow!!ig_order: (1) assessment, (2) restitution principali (3) restitution interest1 (4) fine principal,(5) fine
interest, (6) community restitution, (7) JVTA assessment, (8) pena1ties, and (9) costs, me uding cost of prosecution and court costs.
